        Case 21-41656-elm7 Doc 30 Filed 11/02/21                                Entered 11/02/21 17:35:29                 Page 1 of 2


 Fill in this information to identify your case:
 Debtor 1              James                                      Varga
                       First Name           Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           21-41656-7
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Direct Capital Div of Citibank NA                     Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 Lark Trailer                                     Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.


      Creditor's        Emvlp Llc/fis                                         Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2016 Chevy PU                                         Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
       Case 21-41656-elm7 Doc 30 Filed 11/02/21                            Entered 11/02/21 17:35:29                  Page 2 of 2



Debtor 1     James Varga                                                              Case number (if known)     21-41656-7

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's       Harley Davidson Financial                           Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   2020 Tri-Glide                                      Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's       Systems & Services Technologies,                    Surrender the property.                      No
    name:            Inc.                                                Retain the property and redeem it.           Yes
    Description of   2019 Pace Tandem Trailer                            Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's       Toyota Financial Services                           Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   2020 Toyota 4Runner                                 Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:


    Creditor's       Wells Fargo                                         Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   4215 Southcrest Dr., Arlington TX                   Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
                     76013
    securing debt:                                                       Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    Lessor's name:        Toyota Financial Services                                                                 No
    Description of leased Lease                                                                                     Yes
    property:             Current Account
                           2020 Rav 4


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.



X /s/ James Varga                                      X
   James Varga, Debtor 1                                   Signature of Debtor 2

   Date 11/02/2021                                         Date
        MM / DD / YYYY                                            MM / DD / YYYY



Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
